




Dismissed and Memorandum Opinion filed October 2, 2008








Dismissed
and Memorandum Opinion filed October 2, 2008.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00837-CR

____________

&nbsp;

ALLEN ROY MILLER, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 262nd District Court

&nbsp;Harris County, Texas

Trial Court Cause No. 1166784

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a Aguilty@ plea to theft.&nbsp; In accordance with the terms of a plea bargain agreement
with the State, the trial court sentenced appellant on June 26, 2008, to
confinement for five&nbsp; years in the Institutional Division of the Texas
Department of Criminal Justice.&nbsp; No timely motion for new trial was filed.&nbsp;
Appellant=s pro se notice of appeal was not filed until August 28, 2008. 

.








A
defendant=s notice of appeal must be filed within thirty days after sentence is
imposed when the defendant has not filed a motion for new trial.&nbsp; See Tex. R. App. P. 26.2(a)(1).&nbsp; A notice
of appeal that complies with the requirements of Rule 26 is essential to vest
the court of appeals with jurisdiction.&nbsp; Slaton v. State, 981 S.W.2d
208, 210 (Tex. Crim. App. 1998).&nbsp; If an appeal is not timely perfected, a court
of appeals does not obtain jurisdiction to address the merits of the appeal. &nbsp;Under
those circumstances it can take no action other than to dismiss the appeal.&nbsp; Id.

Moreover,
the trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

For
these reasons, the appeal is ordered dismissed.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed October
2, 2008.

Panel consists of Chief Justice Hedges, Justices
Anderson and Frost. 

Do Not Publish C Tex. R. App. P.
47.2(b)





